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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



UNITED STATES OF AMERICA                                            Case No.: 6:20−cr−00178−MC
   Plaintiff,

v.

ERIK J. HASS
   Defendant.


                                  Criminal Case Assignment Order

1.    Presiding Judge: The above referenced case has been filed in the Eugene Division of the U.S.
District Court for the District of Oregon and assigned to:




2.    Courtroom Deputy Clerk: Questions about the status or scheduling of this case should be
directed to:

           Charlene Pew:
           Telephone: 541−431−4105
           Email: charlene_pew@ord.uscourts.gov
3.   Case Administrator/Docket Clerk: Questions about filings or docket entries in this case
should be directed to:

         Telephone: 541−431−4100
4.   Place of Filing: Any paper filings must be submitted to the Clerk of Court, Wayne L. Morse
Courthouse, 405 East Eighth Ave., Eugene, OR, 97401. (See LR 3−1, LR 5−5.)

5.    District Court Website: Information about local rules of practice, CM/ECF electronic filing
requirements, responsibility to redact personal identifiers from filings, and other related information
can be found on the Court's website at ord.uscourts.gov.

6.   Free Legal Assistance for Pro Se Litigants: Litigants proceeding pro se (without a lawyer)
may qualify for free legal assistance from the Oregon Chapter of the Federal Bar Association's Free
Federal Law Clinic. To see if you qualify, apply at fedlawclinic.com.

DATED: June 10, 2020                                 MARY L. MORAN
                                                     Clerk of Court

                                                 by: /s/ J. Wall
                                                     J. Wall, Deputy Clerk
